20-11812-mg   Doc 80-1   Filed 09/13/21 Entered 09/13/21 17:55:07   Terms of Sale
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20-11812-mg   Doc 80-1   Filed 09/13/21 Entered 09/13/21 17:55:07   Terms of Sale
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20-11812-mg   Doc 80-1   Filed 09/13/21 Entered 09/13/21 17:55:07   Terms of Sale
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20-11812-mg   Doc 80-1   Filed 09/13/21 Entered 09/13/21 17:55:07   Terms of Sale
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20-11812-mg   Doc 80-1   Filed 09/13/21 Entered 09/13/21 17:55:07   Terms of Sale
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                         MEMORANDUM OF SALE- SUCCESSFUL PURCHASER
          Bid made at Auction:   °',
                               5()0 1CC)Q •
          Buyer's Premium:               ?::o    I   Dc::o •

          Purchase Price:       C\,              DO().

          The undersigned has this K:> day o f ~ 2021, agreed to purchase the Real Propc..-rty (as defined
          in the annexed Terms of Suh:) and sold by Yann Geron, Esq., as Chapter 7 Trustee pursuant to the
          Order of the United States Bankruptcy Court for the Southern District of New York entered on
          __ _ 2021 authori7.ing the sale of the Real Property, for the sum of
          $ g,~O .Oen "~ ______ _ __ DOLLARS and hereby promises and agrees to
          compl ·                   · · ns ,,r Sale of the Real Property and this Memorandum of Sale.




          PRINT NAME: 0("'. Y-X~•,. \'- .-, \'.-      \
          PRINT mLE: \...'-<:. -\o 'O•~ r,c,....-,..._~

           S7\       W. \~3S...s~
          ADDRESS

          ll__'-L N :':\
          ADDRESS (City, State, Zip)
                                       IOC),-6         -
          9\7-        \do\..\ -C\SC\'6 _ __ _
          TELEPHONE NUMBER

          (\y·,   @_ e.\':j~ee.... 10.'-'e~<.;!,('o.V~.Co<Y\
          EMAIL ADDRESS

          Received from~~ '""bclD,                        the sum of S~~000 DOLLARS, as a non-
          refundable initial deposit for the purchase of the Real Property pursuant to the Terms of Sale.


         This is to verify   "--~~Y-                       n the above sale was the sum of$ C\ r6't;C 1   ..




         ~r<




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